







		NO. 12-09-00103-CR



IN THE COURT OF APPEALS



TWELFTH COURT OF APPEALS DISTRICT



TYLER, TEXAS




KENNITH W. LORENTZ, SR.,§
	APPEAL FROM THE 217TH

APPELLANT


V.§
	JUDICIAL DISTRICT COURT OF


THE STATE OF TEXAS,

APPELLEE§
	ANGELINA COUNTY, TEXAS





MEMORANDUM OPINION


PER CURIAM


	Appellant, Kennith W. Lorentz, Sr., attempts to appeal from an order denying his motion to
compel discovery.  As a general rule, an appeal in a criminal case may be taken only from a
judgment of conviction.  See Workman v. State, 170 Tex. Crim. 621, 622, 343 S.W.2d 446, 447
(Tex. Crim. App. 1961).  However, there are certain narrow exceptions.  Wright v. State, 969
S.W.2d 588, 589 (Tex. App.-Dallas 1998, no pet.) (listing exceptions).  The order Appellant
complains of is not a judgment of conviction nor does it fall within any exception to the general rule. 
Therefore, we have no jurisdiction over the appeal.

	On April 3, 2009, this court notified Appellant that the information received in this appeal
does not include a final judgment or other appealable order and therefore does not show the
jurisdiction of this court.  See Tex. R. App. P. 37.1.  Appellant was further notified that the appeal
would be dismissed unless the information was amended on or before May 4, 2009 to show the
jurisdiction of this court.  See Tex. R. App. P. 44 .3.  This deadline has now passed, and Appellant
has not shown the jurisdiction of this court. Accordingly, the appeal is dismissed for want of
jurisdiction.  

Opinion delivered May 13, 2009.

Panel consisted of Worthen, C.J., Griffith, J., and Hoyle, J.



(DO NOT PUBLISH)


